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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

OTIS DAVIS, SR., Individually,                  §
DOROTHY O. JACKSON, Individually,               §
and LASANDRA TRAVIS-DAVIS,                      §
Individually and as the Administrator           §
of the Estate of Decedent,                      §
BERTRAND SYJUAN DAVIS,                          §
                                                §    Civil Action No. 3:16-CV-2548-L
               Plaintiffs,                      §
                                                §
v.                                              §
                                                §
MATTHEW TERRY,                                  §
                                                §
               Defendant.                       §

                               DEFENDANT’S WITNESS LIST

TO THE HONORABLE COURT:

       Defendant Matthew Terry, pursuant to the Court’s Fifth Amended Scheduling Order

entered on January 28, 2021 (ECF No. 96), files his witness list.




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                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on June 23, 2021, I electronically filed the foregoing document with the clerk
of the court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to all
attorneys of record who have consented in writing to accept this Notice as service of this document
by electronic means.

                                               /s/ Lindsay Wilson Gowin




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                            DEFENDANT’S WITNESS LIST

1.   Witness:       Lasandra Travis-Davis
     Testimony:     possible
     Deposed:       no

     Lasandra Travis-Davis is one of the named plaintiffs. The full extent of her testimony is
     not presently known, but she likely will testify that she observed her husband, Bertrand
     Davis (“Davis”), struggle with Sr. Cpl. Matthew Terry and other Dallas Police Department
     (“DPD”) officers, that Davis has used unlawful controlled substances in the past, that Davis
     was acting erratically, and that Davis failed to comply with the officers’ several verbal
     commands.

2.   Witness:       Sr. Cpl. Matthew Terry #8915
     Testimony:     probable
     Deposed:       no

     Matthew Terry (“Terry”) is a DPD officer. He will testify about (1) his training and
     experience as a Dallas police officer, (2) the reasons for his involvement in the incident
     that is the basis of this civil action, (3) his observations and recollection during his
     encounter with Davis, (4) his observations of Davis’s physical conditions, (5) his
     knowledge of police department practices and customs relating to the use of force, and
     internal administrative and criminal investigations of allegations of the use of excessive
     force, and (6) other actions taken by him in connection with the incident that is the subject
     of the Plaintiffs’ claims.

     Terry will testify that at the time of his encounter with Bertrand Davis on August 27, 2015,
     Terry was a senior corporal in the Dallas Police Department (“DPD”), that he was acting
     within the course and scope of his duties as a DPD officer, and that he was discharging his
     discretionary authority as a peace officer.

     Terry will further testify that on August 27, 2015, at about 1:30 p.m., he responded to a 9-
     1-1 call regarding a robbery in progress on Penelope Street in Dallas. The dispatcher
     informed Terry that the suspect was armed with a knife and gun. When Terry arrived at
     the scene, he observed a house on fire, several uniformed DPD police officers, and a man
     later identified as Bertrand Davis, holding a woman by her neck and attempting to force
     her into a silver Mercedes. Terry and several police officers attempted to arrest Davis, but
     he resisted, and a struggle ensued. As Terry and another officer attempted to handcuff
     Davis, Davis broke free and swung a clenched fist at Terry’s head. Terry discharged his
     Taser at Davis, who briefly fell to the ground but quickly got back up. Terry discharged
     his Taser a second time but it was ineffective. Davis then grabbed the woman, who Terry
     later learned was Bertrand Davis’s wife, Lasandra Travis-Davis, and ran towards the
     driver’s side of the silver Mercedes. Davis tried to force Mrs. Davis inside car. Terry freed
     Mrs. Davis from Bertrand Davis’s grasp, and Davis quickly entered the driver’s side door
     and lunged toward the to the front right passenger seat. Davis began searching through his
     pockets. Terry immediately dropped his Taser and drew his service weapon. As Davis
     reached for the floor area of the car, Terry heard a fellow officer yell “gun[,]” at which
     time Terry saw a black handgun inside the car. Fearing that Davis might use the gun to
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     shoot Terry or others , Terry discharged his service weapon and shot Davis twice. Terry
     will testify that he had probable cause to believe based on the facts and circumstances
     known to him at the time that Davis presented an imminent threat of serious bodily injury
     or death, and that Terry’s use of force was reasonable and necessary to prevent Davis’s use
     of unlawful force against him.

3.   Witness:       Sr. Cpl. Scott Neal #9065
     Testimony:     probable
     Deposed:       no

     Scott Neal (“Neal”) is a Dallas police officer. He will testify about (1) his training and
     experience as a Dallas police officer, (2) the reasons for his involvement in the incident
     that is the basis of this civil action, (3) his observations and recollection during his
     encounter with Davis, (4) his observations of Davis’s physical conditions, (5) his
     knowledge of police department practices and customs relating to the use of force, and
     internal administrative and criminal investigations of allegations of the use of excessive
     force, and (6) other actions taken by him in connection with the incident that is the subject
     of the Plaintiffs’ claims.

     Neal will testify that on August 27, 2015, at about 1:30 p.m., he responded to a call
     regarding a robbery in progress on Penelope Street in Dallas. Neal learned from the call
     sheet that the suspect was a black male, that he had set a residence on fire, and that he was
     possibly armed with a handgun. Upon arrival at the scene, Neal observed several
     uniformed police officers attempting to detain a man, later identified as Bertrand Davis.
     Neal drew his Taser and went over to assist. As officers were attempting to handcuff Davis,
     Davis broke free and began swinging his fists and elbows at them. Neal discharged his
     taser at Davis, which caused Davis to tighten up. Neal then observed another officer
     discharge his Taser at Davis, who fell to the ground but immediately got back on his feet.
     Neal discharged his taser a second time, which had no effect. After three failed attempts to
     de-escalate the situation with Tasers, another police officer discharged his Taser as Davis
     moved towards the driver’s side of the Mercedes. Davis entered the driver’s side door and
     quickly moved toward the front right passenger seat. Davis began searching through his
     pockets and attempted to remove a large object. Neal saw a black handgun in Davis’s right
     hand and immediately yelled “gun[.]”

4.   Witness:       Officer Bryan Joseph #9479
     Testimony:     probable
     Deposed:       no

     Bryan Joseph (“Joseph”) is a Dallas police officer. He will testify about (1) his training
     and experience as a Dallas police officer, (2) the reasons for his involvement in the incident
     that is the basis of this civil action, (3) his observations and recollection during his
     encounter with Davis, (4) his observations of Davis’s physical conditions, (5) his
     knowledge of police department practices and customs relating to the use of force, and
     internal administrative and criminal investigations of allegations of the use of excessive
     force, and (6) other actions taken by him in connection with the incident that is the subject
     of the Plaintiffs’ claims.

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    Joseph will testify that on August 27, 2015, at about 1:35 p.m., he and his partner for that
    day, Dallas police officer Kevin Thomas, responded to a call regarding a robbery in
    progress on Penelope Street in Dallas. Upon arrival at the scene, Joseph observed a house
    on fire and several witnesses in front of the burning house. Witnesses at the scene informed
    him that Davis set the house on fire, and that Davis might have a weapon. Joseph then
    observed Davis and Lasandra Travis-Davis attempting to get into the silver Mercedes.
    Joseph attempted to shut the car door but was unable to do so because Davis and Lasandra
    Travis-Davis were wedged in the door. Joseph and Thomas struggled to place Davis in
    handcuffs. During the struggle, Joseph heard another officer yell “Taser,” and he
    disengaged from Davis. Joseph observed Davis pull at the taser wires, and fall to the
    ground but get back up. Davis then entered the driver’s side door of the Mercedes and
    went to the front right passenger seat. Davis began searching through his pockets and
    around his waistband. Joseph then heard a gunshot and saw that Davis had stopped moving
    inside the Mercedes.

 5. Witness:       Officer Kevin Thomas #10816
    Testimony:     probable
    Deposed:       no

    Kevin Thomas (“Thomas”) is a Dallas police officer. He will testify about (1) his training
    and experience as a Dallas police officer, (2) the reasons for his involvement in the incident
    that is the basis of this civil action, (3) his observations and recollection during his
    encounter with Davis, (4) his observations of Davis’s physical conditions, (5) his
    knowledge of police department practices and customs relating to the use of force, and
    internal administrative and criminal investigations of allegations of the use of excessive
    force, and (6) other actions taken by him in connection with the incident that is the subject
    of the Plaintiffs’ claims.

    Thomas will testify that on August 27, 2015, at about 1:30 p.m., he, and his partner for that
    day, Dallas police officer Bryan Joseph, responded to a 911 call regarding a robbery in
    progress on Penelope Street in Dallas. Upon arrival at the scene, Thomas observed a house
    on fire and several witnesses in front of the burning house. Witnesses informed the he and
    Officer Joseph that Bertrand Davis set the house on fire, and that he might have a weapon.
    Joseph and Thomas approached Davis and gave him several verbal commands to surrender
    and show his hands, which Davis refused to do. Joseph and Thomas drew their service
    weapons, while other officers discharged their tasers. Davis appeared to be unaffected by
    the tasers. As officers attempted to handcuff Davis, Davis broke free and jumped in the
    driver’s side door of a nearby parked Mercedes vehicle. Davis went to the front right
    passenger seat and began to search for something in the vehicle. Thomas heard two
    gunshots, and saw Davis stop moving inside the Mercedes.

 6. Witness:       Officer Joe King #7482
    Testimony:     probable
    Deposed:       no

    Joe King (“King”) is a Dallas police officer who responded to the scene. He will testify
    about (1) his training and experience as a Dallas police officer, (2) the reasons for his
    involvement in the incident that is the basis of this civil action, (3) his observations and
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    recollection during his encounter with Davis, (4) his observations of Davis’s physical
    conditions, (5) his knowledge of police department practices and customs relating to the
    use of force, and internal administrative and criminal investigations of allegations of the
    use of excessive force, and (6) other actions taken by him in connection with the incident
    that is the subject of the Plaintiffs’ claims.

    King will testify that on August 27, 2015, he responded to a 9-1-1 police dispatch regarding
    a robbery in progress on Penelope Street in Dallas. King learned from the call sheet that
    the suspect, later identified as Bertrand Davis, was in a nearby vacant lot, that he had set
    the complainant’s residence on fire, and that he might be armed with a gun. Upon arrival
    at the scene, King observed Davis struggling with several uniformed police officers. Davis
    had one handcuff on his right hand, and a discharged taser prong in his body. King saw
    Davis overpower the officers and enter the driver’s side door of a silver Mercedes. Davis
    began searching through his pockets, and King retreated to the rear of the vehicle. King
    heard several officers give Davis verbal commands to show his hands, but Davis refused.
    King heard an officer yell, “gun,” followed by two gunshots.

 7. Witness:       Officer Rachel Rice #10869
    Testimony:     probable
    Deposed:       no

    Rachel Rice is a Dallas police officer who responded to the scene. She will testify that she
    arrived at the scene and restrained Ms. Travis-Davis at a safe distance while officers
    attempted to apprehend Bertrand Davis. Officer Rice will testify about her observations of
    Davis, his demeanor and actions immediately before the shooting. She will also testify
    about restraining and comforting Ms. Travis-Davis while paramedics transported Davis to
    the hospital, and the statements that Ms. Travis-Davis made to or in front of Officer Rice
    concerning the events preceding the shooting, Davis’s contemporaneous and habitual drug
    use, Davis’s serious mental health and substance abuse issues, and Davis’s recent in-patient
    psychiatric treatment.

 8. Witness:       Detective Dale Richardson #6361
    Testimony:     possible
    Deposed:       no

    Dale Richardson is a detective in the DPD who assisted in the internal police department
    investigation of the shooting. He will testify about his training and experience as a Dallas
    police officer and detective, evidence gathered during the investigation of the shooting,
    and his interactions with witness Renaldo Christian.

 9. Witness:       Detective Robert W. Laurence #9191
    Testimony:     possible
    Deposed:       no

    Robert Laurence is a detective in the DPD who assisted in the internal police department
    investigation of the shooting. He will testify about his training and experience as a Dallas
    police officer and detective, evidence gathered during the investigation of the shooting,
    and his interactions with Lasandra Travis-Davis.
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 10. Witness:      Detective Eduardo A. Ibarra
     Testimony:    possible
     Deposed:      no

    Eduardo Ibarra is a detective in the DPD who assisted in the internal police department
    investigation of the shooting. He will testify about his training and experience as a Dallas
    police officer and detective, and about physical evidence gathered during the the shooting
    investigation. He will testify about Det. Ermatinger’s interviews of witnesses Lee Davis
    and Iesha Washington, during which they recounted Davis’s demeanor and actions just
    prior to the shooting.

 11. Witness:      Detective Robert Ermatinger #5051
     Testimony:    probable
     Deposed:      no

    Robert Ermatinger, Jr. is a former detective in the DPD who assisted in the internal police
    department investigation of the shooting. He will testify about his training and experience
    as a Dallas police officer and detective, and about physical evidence gathered during the
    the shooting investigation. He will testify about his interviews of witnesses Lee Davis and
    Iesha Washington, during which they recounted Davis’s demeanor and actions just prior to
    the shooting, and about Renaldo Christian’s 911 call.

 12. Witness:      Detective Richard Duggan
     Testimony:    possible
     Deposed:      yes

    Richard Duggan is a detective in the DPD who assisted in the internal police department
    investigation of the shooting. He will testify about his training and experience as a Dallas
    police officer and detective, and about physical evidence gathered during the course of the
    shooting investigation.

 13. Witness:      Detective Michael Mendez #4587
     Testimony:    probable
     Deposed:      no

    Michael Mendez is a detective in the DPD who assisted in the internal police department
    investigation of the shooting. He will testify about his training and experience as a Dallas
    police officer and detective, and about evidence gathered during the shooting investigation.
    He will testify about his interviews of Lasandra Travis-Davis and witnesses Reynaldo
    Christian and Jeanette McDonald, during which they recounted Davis’s demeanor and
    actions just prior to the shooting. He will also testify about Mr. Christian’s 911 call.




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 14. Witness:      Justin O’Donnell #T237
     Testimony:    possible
     Deposed:      no

    Justice O’Donnell is a crime scene analyst in the DPD who assisted in the internal police
    department investigation of the shooting. He will testify about his training and experience
    as a crime scene analyst, and the physical evidence gathered during shooting investigation.

 15. Witness:      S. Kearney #T234
     Testimony:    possible
     Deposed:      no

    S. Kearney is a crime scene analyst in the DPD who assisted in the internal police
    department investigation of the shooting. He will testify about his training and experience
    as a crime scene analyst, the physical evidence gathered during shooting investigation, and
    the scene sketch he prepared to reflect the scene layout and locations where physical
    evidence was recovered.

 16. Witness:      Sr. Cpl. Joseph Hawkins #7838
     Testimony:    probable
     Deposed:      no

    Joseph Hawkins is a Dallas police officer and instructor at DPD’s police academy. He will
    testify about (1) his training and experience as a Dallas police officer, (2) the training
    provided to all DPD officers regarding use of force, including Tasers and deadly force, and
    (3) the use of Tasers by several officers during the incident. Sr. Cpl. Hawkins will also
    opine that Sr. Cpl. Terry’s use of force was consistent with the training provided by the
    Dallas Police Department, that a reasonable police officer could have believed that there
    was probable cause to believe that Bertrand Davis posed an imminent threat of serious
    bodily injury or death to Sr. Cpl. Terry or others, and that Terry’s use of deadly force was
    reasonable and necessary to prevent Davis from using unlawful force.

 17. Witness:      Sr. Cpl. David Andree #6937
     Testimony:    possible
     Deposed:      no

    David Andree is a Dallas police officer assigned to the Crime Scene Response Section. He
    will testify about (1) his training and experience as a Dallas police officer, (2) the reasons
    for his involvement in the incident that is the basis of this civil action, (3) his knowledge
    of police department practices and customs relating to the use of force, and internal
    administrative and criminal investigations of allegations of the use of excessive force, and
    (4) his investigation of the incident that forms the bases of the of the Plaintiffs’ claims,
    including his interactions with other Dallas police personnel.




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  18. Witness:       Maurice Thomas #T177
      Testimony:     possible
      Deposed:       no

     Maurice Thomas is a crime scene supervisor IV in DPD who assisted in the internal police
     department investigation of the shooting. He will testify about (1) his training and
     experience as a Dallas police officer, (2) the reasons for his involvement in the incident
     that is the basis of this civil action, (3) his knowledge of police department practices and
     customs relating to the use of force, and internal administrative and criminal investigations
     of allegations of the use of excessive force, and (4) his investigation of the incident that
     forms the bases of the of the Plaintiffs’ claims, including his interactions with other Dallas
     police personnel.

  19. Witness:       Matthew Shomer DF-R #110511
      Testimony:     probable
      Deposed:       no

     Matthew Shomer is a former a DF-R paramedic who treated Bertrand Davis at the scene.
     He will testify about (1) his training and experience as a DF-R paramedic, (2) the reasons
     for his involvement in the incident that is the basis of this civil action, (3) his treatment of
     Bertrand Davis, and (4) his observations of the scene of the incident that forms the bases
     of the Plaintiffs’ claims, including his interactions with other DPD and DF-R personnel.

     Shomer will testify that on August 27, 2015, he observed Davis behaving erratically and
     possibly on a stimulant. Shomer will testify that he observed Davis struggle with several
     Dallas police officers, that he appeared to be unaffected by the Tasers discharged at him,
     that taser prongs were lodged into Davis’s body, that Davis ignored the officers’ verbal
     commands, and that Davis entered a Silver Mercedes and appear to look for something.
     Shomer will testify that he heard someone yell, “gun,” followed by two gunshot shots fired
     in succession. Shomer will testify that he observed gunshot wounds in Davis’s wrist,
     abdomen, and chest. Shomer will also testify that paramedics removed taser prongs from
     Davis before transporting him to the hospital.

  20. Witness:       Jeanette Laverne McDaniel
      Testimony:     probable
      Deposed:       no

     Jeanette McDaniel is a witness who will testify about her observations of Davis prior to
     the shooting, including his demeanor, appearance, and behavior. She will also testify that
     she observed Reynaldo Christian flee from his house and call 911 for help and protection,
     that she also called 911 to report that Davis had set Mr. Christian’s house on fire. She will
     also testify about Bertrand Davis and Lasandra Davis’s interactions with one another prior
     to officers arriving on the scene, their interactions with police officers prior to the shooting,
     McDaniel’s interactions with Reynaldo Christian, DPD officers, and DF-R personnel.

  21. Witness:       Irma Jean Daniels a/k/a Iesha Washington
      Testimony:     probable
      Deposed:       no
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     Irma Daniels a/k/a Iesha Washington is a non-party witness who will testify about that
     Davis threatened Curtis Lee Wilson a/k/a Lee Davis a/k/a Lemuel Wilson with a black
     pistol, that Davis was looking for cocaine, and that Davis attempted to steal her property
     before Davis’s encounter with DPD officers.

  22. Witness:      Curtis Lee Wilson a/k/a Lee Davis a/k/a Lemuel Wilson
      Testimony:    possible
      Deposed:      no

     Curtis Wilson/Lee Davis is a non-party witness who will testify that Bertrand Davis
     threatened him with a black pistol at another location shortly before his encounter with
     DPD officers.

  23. Witness:      Renaldo Christian
      Testimony:    probable
      Deposed:      no

     Renaldo Christian is a witness who will testify that on August 27, 2015, he observed Davis
     with a gun, that Davis came to his home and tried to rob him, that Davis acted as if he had
     ingested drugs, that he had observed Davis use drugs in the past, that Davis set his home
     on fire, that he called 911 to report that Davis set his house on fire that Davis failed to
     comply with police officers’ verbal commands and physically struggled with them. He
     will also testify about his observations of Sr. Cpl. Terry discharging his service weapon
     and taser.

  24. Witness:      Dr. Stephanie Burton, M.D.
      Testimony:    Expert
      Deposed:      no

     Dr. Stephanie Burton is a “retained” expert witness. She will testify as to (1) her training
     and experience as forensic pathologist, (2) her qualifications to provide expert testimony
     and opinions, (3) the process of her autopsy of Bertrand Davis, (4) her methodology and
     analysis protocol and its general acceptance in the scientific community, and (5) findings
     of the autopsy. Dr. Burton will testify to the findings of her autopsy, which are recited in
     her autopsy report. Dr. Burton will testify about the locations of Davis’s gunshot wounds,
     the nature and extent of Davis’s injuries, the substances detected in Davis’s bloodstream,
     the effects of those substances, the conclusions of the autopsy, and the meaning of the
     finding that the manner of death was “homicide.”

  25. Witness:      Joshua Perdomo, M.S.
      Testimony:    Expert
      Deposed:      no

     Joshua Perdomo is a non-retained expert serologist employed by the Southwestern Institute
     of Forensic Sciences at Dallas. He will testify as to (1) his training and experience as a
     forensic biologist examiner, (2) his qualifications to provide expert testimony and opinions,
     (3) his methodology and analysis protocol and its general acceptance in the scientific
     community, (4) the information on which he relied to form his expert opinions, (5) and

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     results of his analysis of samples collected from Davis and various items collected by DPD
     officers including but not limited to his conclusion that the fluids found on Davis’s gun
     was blood.

  26. Witness:       Kenneth Balagot, M.S.
      Testimony:     Expert
      Deposed:       no

     Kenneth Balagot is a non-retained expert DNA analyst employed by the Southwestern
     Institute of Forensic Sciences at Dallas. He will testify as to (1) his training and experience
     as a forensic biologist examiner, (2) his qualifications to provide expert testimony and
     opinions, (3) his methodology and analysis protocol and its general acceptance in the
     scientific community, (4) the information on which he relied to form his expert opinions,
     and (5) the results of his DNA analysis comparing blood samples collected from Davis and
     from Davis’s gun and magazine, including but not limited to his conclusion that the blood
     belonged to Davis.

  27. Witness:       Steven D. Ashley
      Testimony:     Expert
      Deposed:       no

     Steven Ashley is a retained expert witness. He will testify as to (1) his training and
     experience as a retired police officer (2) his qualifications to provide expert testimony and
     opinions, (3) his methodology and analysis protocol and its general acceptance in the
     scientific community, (4) the information on which he relied to form his expert opinions,
     and (5) results of his analysis of Terry’s actions as it pertains to Plaintiffs’ claims, including
     but not limited to his ultimate conclusion that Terry’s use of force was justified,
     appropriate, and in accordance with DPD’s properly modeled general orders. For further
     information, please see Mr. Ashley’s expert report.

  28. Witness:       Helen Reynolds
      Testimony:     Expert
      Deposed:       no

     Helen Reynolds is a retained expert witness. She will testify as to (1) her training and
     experience as an economist (2) her qualifications to provide expert testimony and opinions,
     (3) her methodology and analysis protocol and its general acceptance in the scientific
     community, (4) the information on which she relied to form his expert opinions, (5) her
     conclusions about quantification of damages experienced by Plaintiffs as a result of Davis’s
     death, and (6) flaws in the analysis rendered by Plaintiffs’ retained damages expert.

  29. Witness:       Custodian of Records, Dallas Police Department
      Testimony:     possible
      Deposed:       no

     If necessary, a custodian of records will be called to authenticate exhibits in the custody of
     the Dallas Police Department.


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